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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

   CRAIG CUNNINGHAM                                 §
                                                    § Civil Action No. 4:18-CV-565
   v.                                               § (Judge Mazzant/Judge Nowak)
                                                    §
   TRUSTED LEADS, LLC, ET AL.                       §

                               ORDER OF PARTIAL DISMISSAL

         Came on to be considered this day Plaintiff Craig Cunningham’s (“Plaintiff”) “Motion to

  Withdraw Docket 15 Previously Filed Motion for a Default Judgment for a Sum Certain and Notice

  of Voluntary Dismissal without Prejudice for the Trusted Leads Defendants” (“Notice of

  Voluntary Dismissal”) (Dkt. #30). Plaintiff’s request to withdraw Docket #15, Plaintiff’s Motion

  for Default Judgment for a Sum Certain, has been granted by separate order (Dkt. #31). After

  considering the Notice of Voluntary Dismissal, it is hereby

         ORDERED, ADJUDGED AND DECREED that the entirety of Plaintiff’s claims against

. Defendants Trusted Leads, LLC, Trusted Debt Solutions, LLC, Tiffany Frederick, and Schimeon

  Frederick are hereby dismissed without prejudice. Plaintiffs’ claims against DR. Finance, LLC

  and Teliamarie Lamb remain.

         All relief not previously granted is hereby DENIED.

          SIGNED this 4th day of January, 2019.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE
